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(s/ss)
United States District Court 05 A!}{; 29 AH ||: ug
for

Western District of Tennessee TliOlitlS tit GOULD
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U.S.A. vs. Barry Ferguson Docket No. 04-20289-001-B

Petition for Action on Conditions of Pretrial Release

COMES NOW PRETRIAL SERVICES OFFICER Jake N. Bookard, II presenting an official report upon the
conduct ofBarry Ferguson who was placed under pretrial release supervision by the Honorable Diane K. Vescovo
sitting in the court at Memghis, TN, on the llst day of July , 2004 under the following conditions:

. Report as directed by the Pretrial Services Oflice

. Rel`rain from possessing a tirearrn, destructive device, or other dangerous weapon

. Refrain from any use or unlawful possession of a narcotic drug or other controlled substance

. Submit to any method of testing required by the Pretrial Services Oftice for determining whether the defendant
is using a prohibited substance

5. Participate in a program of inpatient or outpatient substance abuse testing, education, or treatment if deemed

advisable by Pretn`ai Services

-D~UJ[\.)»-I

RESPECTFULLY PRESENTING PE,TITION FOR ACTION OF COURT AND FOR CAUSE AS FOL,LOWS:

Defendant Ferguson failed to attend his intake assessment at Pathways of Tennessee Inc. on August 9,
2005. On August 12, 2005, Mr. Ferguson submitted a urine screen that tested positive for marijuana As
previously reported, Mr. Ferguson tested positive for marijuana on urine screens submitted August 27,
2004, April 8, 2005 , and luly 8, 2005. On August 27, 2004, the defendant tested positive for cocaine. Mr.
Ferguson’s positive test results were confirmed by Kroll Laboratories. 'I`he above is in violation of the
defendant’s condition of release to participate in a program of inpatient or outpatient substance
abuse testing, education, or treatment if deemed advisable by Pretrial Services and his condition
to refrain from any use or unlawful possession of a narcotic drug or other controlled substance

PRAYING THAT THE COURT WILL ORDER ISSUANCE OF A WAR_RANT CHARGING THE DEFENDANT
WITH VIOLATING THE CONDITIONS OF PRETRIAL RELEASE

BOND RECOMMENDATION: NONE

ORDER OF COURT I declare under penalty of perjury that the

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Considered and ordered this ga

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ga;fdo: CRMW ,20 and ordered xecue en Aqa\u\§'l' l“il 2005

 

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U.S. Magistrate Judge Place MCmphiS, TN

 

 

Tnis document entered on the docket sheet In compliance
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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 55 in
case 2:04-CR-20289 was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

J uni S. Ganguli

LAW OFFICES OF .TUNI GANGULI
40 S. Main Ave.

Ste. 1540

l\/lemphis7 TN 38103

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

